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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                         )
                                                 )      Case No. 1:14CR00023
                                                 )
v.                                               )      OPINION AND ORDER
                                                 )
BETH PALIN, ET AL.,                              )      By: James P. Jones
                                                 )      United States District Judge
                  Defendants.                    )

      Janine M. Myatt, Special Assistant United States Attorney, Abingdon,
Virginia, for United States; Michael J. Khouri, Khouri Law Firm, Irvine,
California, for Defendant Beth Palin.

       Defendant Beth Palin has moved for a stay of sentence and a continuation of

her release pending appeal. For the following reasons, I will deny the defendant’s

motion.

       The Federal Rules of Criminal Procedure provide that a sentence of

imprisonment must be stayed if an appeal is taken and the defendant is released

pending disposition of the appeal. Fed. R. Crim. P. 38(b)(1). The Federal Rules of

Appellate Procedure provide that the decision regarding release must be made in

accord with the applicable provisions of the Bail Reform Act. See Fed. R. App. P.

9(c). That Act provides, in pertinent part, that the court:

       [S]hall order that a person who has been found guilty of an offense
       and sentenced to a term of imprisonment, and who has filed an appeal
       or a petition for a writ of certiorari, be detained, unless the judicial
       officer finds —
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             (A) by clear and convincing evidence that the person is not
             likely to flee or pose a danger to the safety of any other person
             or the community if released . . . ; and
             (B) that the appeal is not for the purpose of delay and raises a
             substantial question of law or fact likely to result in —
                   (i) reversal,

                   (ii) an order for a new trial,

                   (iii) a sentence that does not include a term of
                   imprisonment, or
                   (iv) a reduced sentence to a term of imprisonment less
                   than the total of the time already served plus the expected
                   duration of the appeal process.
18 U.S.C. § 3143(b)(1).

      While I am able to make the requisite finding contained in subsection (A) of

§ 3143(b)(1), I cannot find that the appeal raises a substantial question of law or

fact, as required in subsection (B). In this context, a “substantial question” is “‘a

“close” question or one that very well could be decided the other way.’” United

States v. Steinhorn, 927 F.2d 195, 196 (4th Cir. 1991) (quoting United States v.

Giancola, 754 F.2d 898, 901 (11th Cir. 1985)). Whether a question is substantial

is decided on a case-by-case basis. Id.

      In this case, Palin was convicted following a bench trial of health care fraud

and conspiracy to commit health care fraud.         I set forth my findings of fact in a

lengthy written opinion (ECF No. 297), and I later issued another opinion

analyzing and denying the defendants’ motions for judgment of acquittal and new

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trial, (ECF No. 347). Palin was sentenced on August 15, 2016, to 36 months of

imprisonment, a sentence below the applicable advisory guideline range for

reasons stated on the record. She was allowed to self-report to prison. She has

filed a notice of appeal.

      Based on the briefs filed in support of Palin’s motion for release, her

forthcoming appeal will raise the same arguments that were rejected in her earlier

motion for judgment of acquittal or, alternatively, for new trial. Palin identifies

two issues that she intends to raise on appeal: “(1) there was no evidence that

Defendant fraudulently billed health care insurers and (2) the new legal precedent

outlined by the Supreme Court in Universal Health Services v. United States after

the Court’s verdict necessitates a new trial.” (Def. Beth Palin’s Mot. for Release

Pending Appeal 1, ECF No. 346.)

      However, for the reasons provided in my opinion denying the defendants’

motions for judgment of acquittal or, alternatively, for new trial, the sufficiency of

evidence issues identified by Palin do not present a “substantial question of law or

fact” justifying her release pending appeal. 18 U.S.C. § 3143(b)(1)(B). Although

Palin contends that she should have been acquitted because the health care benefit

programs knew the frequency with which patients were being given urine drug

screens and paid the submitted claims anyway, the evidence showed that the

benefit programs were unaware that non-medical professionals were deciding


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which patients would receive which tests based on their insurance status, rather

than on a physician’s case-by-case determination of medical necessity. It is true

that Palin and her associates billed insurers for tests that were actually performed,

but it is also true that those tests were unnecessary in most cases. For these

reasons, I find that Palin’s arguments are still unpersuasive regarding the

sufficiency of the evidence supporting her convictions. I remain convinced that

there was sufficient evidence to support my verdicts, and I do not believe that the

arguments raised by Palin create a substantial question.

      Regarding the Supreme Court’s decision in Universal Health Services, Inc.

v. United States, 136 S. Ct. 1989 (2016), I do not agree with Palin that the Court

“changed the definition of an essential element of the crime for which Defendant is

convicted.” (Def. Beth Palin’s Mot. for Release Pending Appeal 4, ECF No. 346.)

For one, Universal Health Services involved a different law than the statute Palin

was convicted of violating. Thus, there is reason to question whether the case has

any direct applicability to Palin’s case. Moreover, the False Claims Act, which

was at issue in Universal Health Services, contains a materiality requirement and

defines material as “having a natural tendency to influence, or be capable of

influencing, the payment or receipt of money or property.”             31 U.S.C. §

3729(b)(4). The Court did not change that definition; it merely expounded upon

the statutory definition and clarified what the word “material” encompasses and


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does not encompass in cases where the government proceeds on a theory of

implied false certification. Universal Health Servs., Inc., 136 S. Ct. at 1995-96.

      Unlike the False Claims Act, the criminal health care fraud statute under

which Palin was convicted does not use the term “material.” See 18 U.S.C.

§ 1347(a).   But even if the Universal Health Services standard of materiality

applies here, the misrepresentations at issue in this case easily satisfy that standard.

As I explained in my opinion denying the defendants’ post-trial motions, the

affected health care benefit programs would not have paid the claims submitted

had they known that the urine drug screens that had been performed were not

medically necessary for patient diagnosis or treatment.           Whether the fraud

perpetrated by Palin was material is not a close question.              Therefore, the

requirements of 18 U.S.C. § 3143(b)(1) are not met here.

      For the foregoing reasons, I do not find that there is a substantial question on

appeal that would allow me to stay Palin’s sentence and permit her release pending

appeal. Accordingly, it is ORDERED that Defendant Beth Palin’s Motion for

Release Pending Appeal (ECF No. 346) is DENIED.

                                               ENTER: August 22, 2016

                                               /s/ James P. Jones
                                               United States District Judge




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